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 7                     IN THE UNITED STATES DISTRICT COURT FOR THE

 8                              EASTERN DISTRICT OF CALIFORNIA

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                                                     )
10   UNITED STATES OF AMERICA,                       ) Case No.: 1:18 CR 253 DAD
                                                     )
11                 Plaintiff,                        ) Order Modifying PreTrial Release Conditions
                                                     )
12          vs.                                      )
                                                     )
13   ELIAS ZAMBRANO,                                 )
                                                     )
14                 Defendant.                        )
                                                     )
15                                                   )
                                                     )
16

17
        The Court hereby ORDERS Mr. Zambrano’s PreTrial Release conditions modified to allow
18   him to visit his father in Tijuana, Mexico between September 23-26, 2020.
19
        To allow that visit to take place the Court specifically Orders that:
20

21      (1) The Court Clerk’s office shall return Mr. Zambrano’s United States passport and passport
            card to him as soon as practicable and no later than 12:00 p.m. on September 22, 2020.
22
            Mr. Zambrano shall return the passport and passport card to the Court Clerk’s office no
23
            later than close of business on September 28, 2020.
24

25      (2) Mr. Zambrano shall be permitted to leave the Eastern District of California, in connection
            with the visit to his father, between September 23-26, 2020.
26
27      (3) All remaining conditions of Mr. Zambrano’s PreTrial release shall remain in effect and
28          Mr. Zambrano shall obey any instructions
                                                   1 presented by the PreTrial Services Office
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          regarding reporting or other requirements in connection with the out-of-district travel
 1
          allowed pursuant to this Order.
 2

 3   IT IS SO ORDERED.

 4
       Dated:   September 21, 2020                          /s/
 5                                                     UNITED STATES MAGISTRATE JUDGE
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